927 F.2d 595Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank GREEN, Plaintiff-Appellant,v.Stephen GLASSO, L. Cooper, Gregory Jones, Anthony Williams,H.B. Grant, David James, Robert Harrison,Lieutenant, D. Johnson, R.E. Johnson,Defendants-Appellees.
    No. 90-7164.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 8, 1991.Decided March 5, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  J. Frederick Motz, District Judge.  (CA-90-470-JFM)
      Frank Edward Green, appellant pro se.
      Stephanie Judith Lane-Weber, Assistant Attorney General, Baltimore, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before HALL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Frank Edward Green appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Green v. Glasso, CA-90-470-JFM (D.Md. Sept. 19, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    